Case 1:22-cr-20104-JEM Document 501 Entered on FLSD Docket 12/13/2023 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 22-CR-20104-JEM

  UNITED STATES OF AMERICA,
  v.

  JOSEPH JOEL JOHN,

        Defendants.
  _______________________________/

        OBJECTIONS TO THE PRE-SENTENCE INVESTIGATION REPORT

         COMES NOW the undersigned counsel for Defendant, Joseph Joel John, and files

  these Objections to the Pre-Sentence Investigations Report and in support, would state as

  follows:

         1.       Mr. John objects to paragraph 98 of the Pre-Sentence Investigation Report,

  found on page 24. Specifically, Mr. John objects to the three-level enhancement as the

  victim of the charged offense was not a federal, state, or county official as contemplated in

  18 USSG § 3A1.2(a). The guidelines do not contemplate this enhancement being

  applicable to government officials of foreign countries, as is the case here.

         2.       Mr. John objects to paragraph 99 of the Pre-Sentence Investigation Report,

  found on page 24. Specifically, Mr. John objects to the twelve-level enhancement attributed

  to the charged conduct pursuant to 18 USSG § 3A1.4(a) because the conduct does not

  satisfy the requirements of the Federal Crime of Terrorism as defined in 18 USC §

  2332(b)(g)(5)




                                           Page 1 of 2
Case 1:22-cr-20104-JEM Document 501 Entered on FLSD Docket 12/13/2023 Page 2 of 2




                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on or before December 13, 2023, I electronically filed the

  foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing

  document is being served this day via the transmission of the Notice of Electronic Filing generated

  by CM.ECF to: Andrea Goldbarg and Monica Castro, Assistant United States Attorneys, Federal

  Justice Building, 99 N.E. 4th Street, Miami, Florida 33132-2111



                                                       Respectfully submitted,
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                                                       By:________________________
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                                              Page 2 of 2
